IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

AMARILLO DIVISION
UNITED STATES OF AMERICA, §
Plaintiff,
v. 2:21-CR-025-Z-(1)
BART WADE REAGOR,
Defendant. ;

ORDER
Before the Court is Defendant’s Sealed Motion to Amend (ECF No. 72). Defendant
requests the Court allow him to amend his previous Response and Objection (ECF No. 69) to the
Witness’s Sealed Motion to Quash Subpoena (ECF No. 64). The Court GRANTS Defendant’s
Motion.
SO ORDERED.

October |¥ 2021.

 

MAATHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

 
